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UNITED STATES BANKRUPTCY COURT
MIDDLE DISTRICT OF FLORIDA
ORLANDO DIVISION
www.flmb.uscourts.gov
IN RE:
Case No. 6:19-bk-05253-KS]J
ROBERT J. GRIFFIN, Chapter 7

Debtor.
/

 

MOTION BY LAUNCH FEDERAL CREDIT UNION F/K/A KENNEDY SPACE
CENTER FEDERAL CREDIT UNION FOR RELIEF FROM STAY

 

NOTICE OF OPPORTUNITY TO
OBJECT AND REQUEST FOR HEARING

Pursuant to Local Rule 2002-4, the Court will consider the relief requested in
this paper without further notice or hearing unless a party in interest files an objection
within 21 days from the date set forth on the attached proof of service plus an additional
three days for service if any party was served by U.S. Mail. You should read these
papers carefully and discuss them with your attorney if you have one. Ifthe paper is an
objection to your claim in this bankruptcy case, your claim may be reduced, modified,
or eliminated.

If you object to the relief requested in this paper, you must file a response with
the Clerk of the Court at the George C. Young Federal Courthouse, 400 West
Washington Street, Suite 5100 Orlando, FL 32801, and serve a copy on the movant's
attorney, Andrew W. Houchins, Post Office Box 3146, Orlando, FL 32802-3146, and
any other appropriate persons within the time allowed.

If you file and serve an objection within the time permitted, the Court will either
schedule and notify you of a hearing, or consider the objection and grant or deny the
relief requested without a hearing. If you do not file an objection within the time
permitted, the Court will consider that you do not oppose the relief requested in the
paper, will proceed

 

 

 

LAUNCH FEDERAL CREDIT UNION F/K/A KENNEDY SPACE CENTER
FEDERAL CREDIT UNION ("Creditor"), by and through its undersigned attorney, moves the
Court to grant it Relief from the Automatic Stay imposed by Section 362 of the Bankruptcy

Code, and as grounds therefore would show:
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1. The Debtor filed a Petition under Chapter 7 of the Bankruptcy Code on August
09, 2010, and this Court has jurisdiction pursuant to 11 U.S.C. Sections 101 et seq. and 28
U.S.C. Section 157(a). Arvind Mahendru is the Trustee in the Case.

2. Creditor owns and holds a Note and Deed of Trust, Second Home Rider, and
Certification of Trust, granting it a security interest in property owned by the Debtor. A copy of
the Note and Deed of Trust, Second Home Rider, and Certification of Trust are attached hereto
as Composite Exhibit A and incorporated herein by reference.

3. Creditor has perfected its security interest in the property, and its interest is
superior to all other liens and interests, as evidenced by the Deed of Trust recorded in Swain
County, North Carolina Register of Deeds, Book 00388, Pages 0486-0505, Instrument #01798,
attached hereto as Exhibit A, and incorporated herein by reference.

4, The property which is the subject of this Motion and subject to Creditor's interest
is described as: 6760 Alarka Road, Bryson City, NC 28713, see attached Exhibit A, Page 0502,
for description of the property.

5. Pursuant to Debtor’s Schedule A/B property, the fair market value of the property
is $411,730.00.

6. The amount of the debt secured by the lien through August 21, 2019, is
$444,260.55. Creditor lacks adequate protection for its security interest in the property.

7. Creditor is entitled to possession of the property by the terms of the Note and
Deed of Trust. Debtor defaulted on the Contract by failing to pay the installment due on
May 01, 2019, or any installment thereafter. The normal monthly payment due on the

Contract is $2,738.75.
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8. The property is vacant, and the Debtor has indicated an intention to
surrender the property to Creditor. Movant respectfully request the Court to waive the
14-day stay period pursuant to Bankruptcy Rule 4001(a)(3).

10. ‘The time required for a hearing on this Motion is ten (10) minutes.

WHEREFORE, Creditor, LAUNCH FEDERAL CREDIT UNION F/K/A KENNEDY
SPACE CENTER FEDERAL CREDIT UNION, respectfully requests this Court to enter an Order
which modifies the Automatic Stay, waive the 14-day stay period, and permits Creditor to perfect
its security interest in the property, accelerate the balance due under the Contract, take possession
of, foreclose its interest in, and dispose of the property, furnish notices to Debtor regarding date of
sale and proceeds of sale, pursuant to the terms of the Contract and state law, and for any and such

other and further relief as this Court deems just and equitable.

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Florida Bar No. chins |

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ahouchins@rushmarshall.com
Attorney for Creditor

DATED: August LG , 2019.

 
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CERTIFICATE OF SERVICE fer
| HEREBY CERTIFY that a true copy of the foregoing has been served on this CE day of
August, 2019, by electronic notice if registered in the Electronic Case Filing system, otherwise by
first class postage prepaid U.S. Mail to: Robert J. Griffin, 6750 Bermuda Avenue, Cocoa FL 32927,
Debtor, Hurley Partin Whitaker, II, Post Office Box 2807, Orlando, Florida 32802-2807, Attorney
for Debtor, Arvind Mahendru, 5703 Red Bug Lake Road, Suite 284, Winter Springs, FL 32708,

Office of the U.S. Trustee, 400 W. Washington St., Suite 1100, Orlando, FL 32801.

RUSH, MARSHALL, JONES and KELLY, P.A.
Attorneys for Creditor

SEND ALL NOTICES TO: By: Ouala ef

Andrew W. Houchins, forthe firm

RUSH, MARSHALL, JONES and KELLY, P.A. Florida Bar No. $9107

Attn: Andrew W, Houchins Telephone 407-425-5500

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